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 3
                              UNITED STATES DISTRICT COURT
 4
                                     DISTRICT OF NEVADA
 5
 6   LINKSMART WIRELESS TECHNOLOGY,
     LLC,                                               Case No.: 2:20-cv-01386-MMD-NJK
 7
           Plaintiff(s),                                               ORDER
 8
     v.
 9
     HOSPITALITY NETWORK,
10
           Defendant(s).
11
12        To date, the parties have not filed a joint stipulated discovery plan as required by Local
13 Rule 26-1(a). The parties are hereby ORDERED to file a joint proposed discovery plan no later
14 than October 27, 2020.
15        IT IS SO ORDERED.
16        Dated: October 20, 2020
17                                                            ______________________________
                                                              Nancy J. Koppe
18                                                            United States Magistrate Judge
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